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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Kelly Wach, et al.
                                   Plaintiff,
v.                                                     Case No.: 1:21−cv−02191
                                                       Honorable Elaine E. Bucklo
Prairie Farms Dairy, Inc.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 26, 2022:


        MINUTE entry before the Honorable Elaine E. Bucklo: A notice of voluntary
dismissal has been filed. This case is dismissed pursuant to FRCP 41(a)(1)(A)(i). All
pending dates and motions are terminated as moot. Civil case terminated. Mailed notice.
(mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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